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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARD,
CHARLES JAMES RITCHARD, JAMES                   CIVIL ACTION
DAVID HOOPER, and DAREN WADE
RUBINGH,                                        No. 2:20-cv-13134-LVP-RSW

                   Plaintiffs,
                                                Hon. Linda V. Parker
      v.

GRETCHEN WHITMER, in her official               PROPOSED INTERVENOR-
                                                DEFENDANTS’ EX PARTE
capacity as Governor of the State of            APPLICATION TO EXTEND
Michigan, JOCELYN BENSON, in her                PAGE LIMITS FOR THEIR
official capacity as Michigan Secretary of      BRIEF IN OPPOSITION OF
                                                PLAINTIFFS’ EMERGENCY
State, and the Michigan BOARD OF                MOTION FOR TRO
STATE CANVASSERS,

                   Defendants.



      With this ex parte application (see Local Rule 7.1(d)(3)(a)), Proposed

Intervenor-Defendants, DNC Services Corporation/Democratic National Committee

and Michigan Democratic Party (“Proposed Intervenors”), respectfully request

permission to file their Brief in Opposition to Plaintiffs’ Emergency Motion for a

Temporary Restraining Order (ECF No. 7) in excess of the 25-page limit for the

reasons stated below. Plaintiffs’ counsel does not oppose this request.

      1.    Local Rule 7.1(d)(3) limits response briefs to 25 pages absent

permission from the Court allowing a longer brief.



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      2.     Plaintiffs’ Emergency Motion for Temporary Restraining Order (ECF

No. 7), while only 16 pages, purports to be supported by all of the allegations from

their 233-paragraph, 85-page first amended complaint, which includes a 13-point

prayer for relief (ECF No. 6). Indeed, Plaintiffs incorporate by reference the entire

first amended complaint into their Emergency Motion for Temporary Restraining

Order (ECF No. 7, PageID 1832).

      3.     Plaintiffs’ Emergency Motion for Temporary Restraining Order (ECF

No. 7), also purports to be supported by every one of the 30 exhibits attached to the

first amended complaint, which collectively amount to 874 pages (ECF Nos. 6-1

thru 6-30, PageIDs 958-1831). Indeed, Plaintiffs incorporate by reference their

entire, voluminous set of exhibits into their Emergency Motion for Temporary

Restraining Order (ECF No. 7, PageID 1832).

      4.     Proposed Intervenors request a modest page-limit increase of five pages

to properly analyze and address the arguments in Plaintiffs’ Emergency Motion for

Temporary Restraining Order and voluminous supporting materials, resulting in a

30-page brief in opposition.

      5.     On December 2, 2020, counsel for Proposed Intervenors sought

concurrence from Plaintiffs’ counsel, and Plaintiffs’ counsel concurs.




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      6.    Proposed Intervenors respectfully request to file, and that the Court

accept, a 30-page brief in opposition to Plaintiffs’ Emergency Motion for a

Temporary Restraining Order.

Dated: December 2, 2020.               Respectfully submitted,


                                       /s/ Scott R. Eldridge
                                       Scott R. Eldridge (P66452)
                                       MILLER CANFIELD
                                       One Michigan Avenue, Suite 900
                                       Lansing, Michigan 48933
                                       Telephone: (517) 483-4918
                                       eldridge@millercanfield.com

                                       Mary Ellen Gurewitz (P25724)
                                       CUMMINGS & CUMMINGS
                                       423 North Main Street, Suite 200
                                       Royal Oak, Michigan 48067
                                       Telephone: (248) 733-3405
                                       maryellen@cummingslawpllc.com

                                       Marc E. Elias (DC #442007)
                                       Jyoti Jasrasaria (DC #1671527)*
                                       PERKINS COIE LLP
                                       700 Thirteenth Street NW, Suite 800
                                       Washington, DC 20005
                                       Telephone: (202) 654-6200
                                       melias@perkinscoie.com
                                       jjasrasaria@perkinscoie.com

                                       William B. Stafford (WA #39849)*
                                       Jonathan P. Hawley (WA #56297)*
                                       PERKINS COIE LLP
                                       1201 Third Avenue, Suite 4900
                                       Seattle, Washington 98101
                                       Telephone: (206) 359-8000

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                                     wstafford@perkinscoie.com
                                     jhawley@perkinscoie.com

                                     Seth P. Waxman (DC #257337)
                                     Brian M. Boynton (DC #483187)*
                                     WILMER CUTLER PICKERING HALE
                                     AND DORR LLP
                                     1875 Pennsylvania Avenue NW
                                     Washington, D.C. 20006
                                     Telephone: (202) 663-6000
                                     seth.waxman@wilmerhale.com
                                     brian.boynton@wilmerhale.com

                                     John F. Walsh (CO #16642)*
                                     WILMER CUTLER PICKERING HALE
                                     AND DORR LLP
                                     1225 Seventeenth Street, Suite 2600
                                     Denver, Colorado 80202
                                     Telephone: (720) 274-3154
                                     john.walsh@wilmerhale.com

                                     Counsel for Proposed Intervenor-
                                     Defendants DNC Services
                                     Corporation/Democratic National
                                     Committee and Michigan Democratic
                                     Party

                                     *Admission forthcoming




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                        CERTIFICATE OF SERVICE

      Scott R. Eldridge certifies that on the 2nd day of December 2020, he served a

copy of the above document in this matter on all counsel of record and parties via

the ECF system.

                                            /s/ Scott R. Eldridge
                                            Scott R. Eldridge




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